NR: VTN
F. #2017R00515

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

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UNITED STATES OF AMERICA AFFIDAVIT AND COMPLAINT IN
. SUPPORT OF APPLICATION FOR

— against — ARREST WARRANTS

pe (18 U.S.C. §§ 371 and 3551 et seq.)
_ Case No. 19-MJ-147
ANDRE WILBURN,
Defendants.

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EASTERN DISTRICT OF NEW YORK, SS:

JIMMY JINN, being duly sworn, deposes and says that he is a Special Agent
with United States Department of Homeland Security, Homeland Security Investigations,
duly appointed according to law and acting as such.

In or about and between April 2016 and July 2018, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendants rE 13 ANDRE
WILBURN, did knowingly, and with intent to defraud, conspire to: (1) possess fifteen or
more devices which are unauthorized access devices; and (2) effect transactions, with one or
more access devices issued to another person or persons, to receive payment or any other

thing of value during any 1-year period the aggregate value of which is equal to or greater
than $1,000, all of which conduct affected interstate commerce, in violation of Title 18,
United States Code, Sections 1029(a).
(Title 18, United States Code, Section 371).
The source of your deponent’s information and the grounds for his belief are
as follows:!
1. I am a Special Agent of the United States Department of Homeland
Security, Homeland Security Investigations (“HSI”) and have been involved in the
investigation of numerous cases involving fraud and identity theft. I am familiar with the
facts and circumstances set forth below from my participation in the investigation; my
review of the investigative file, including the defendants’ criminal history records; and from
reports of other law enforcement officers involved in the investigation.
2. HSI, the Amtrak Office of Inspector General’s Office of Investigations
(“Amtrak OIG”), the Amtrak Police Department and the United States Department of
Transportation, Office of Inspector General are jointly investigating the defendants
es 2: ANDRE WILBURN for
crimes including money laundering and access device fraud’ that has resulted in the loss of

more than $450,000 to Amtrak from in or about and between April 2016 to July 2018.

 

' Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.

* Under 18 U.S.C. § 1029(e)(1) an “access device” includes any account number or
other means of account access that can be used, alone or in conjunction with another access
device, to obtain money, goods, services, or any other thing of value. Accordingly, the
unauthorized use of credit card account numbers qualifies as access device fraud.
3. Amtrak is a national passenger railroad service. Among the different
methods of payment accepted by Amtrak, Amtrak allows customers to redeem eVouchers for
travel. An eVoucher is a transferable electronic certificate of credit offered by Amtrak when
a customer cancels an existing reservation or downgrades a reservation. An eVoucher is
valid for one year from the date of issuance. A single eVoucher can be broken down into
multiple eVouchers of lesser value and used to make multiple reservations for future travel.
Multiple eVouchers can also be aggregated and used to pay for a single reservation. To
redeem an eVoucher, a person must provide a reference phone number or email address that
was used to make the original reservation.

THE FRAUDULENT SCHEME

4. Amtrak OIG agents identified a fraudulent scheme in which individuals
purchased Amtrak reservations using stolen credit card account information, cancelled or
exchanged those reservations for Vouchers, and sold the eVouchers on the internet,
including the websites www.ebay.com and craigslist.org.

5. Amtrak OIG agents identified eVouchers sold on the internet as
fraudulent whenever the true owners of the credit card accounts used to make the original
Amtrak purchases reported those purchases as unauthorized to their financial institutions.
Those financial institutions contacted Amtrak and, in turn, received a refund from Amtrak.

6. Amtrak OIG agents identified four separate eBay accounts, specifically
“Jiphet715,” “2iladam,” “iminyourhome” and “richjerk” (the “eBay Accounts’), that belong
to and were used by i and ANDRE
WILBURN, respectively, to sell eVouchers that have been identified as part of the fraudulent

scheme described above.
a. In or about and between June 2017 to June 2018, approximately 213
eVouchers worth more than $60,000 of credit with Amtrak were sold by
eBay user “liphet715.” Approximately 161 of these eVouchers, worth
approximately $46,000, have been confirmed as fraudulent as of August
28, 2018. According to records obtained from eBay, “liphet715” is an
eBay account registered Li ii of Brooklyn, New York.

b. In or about and between November 2016 and July 2017, approximately
286 eVouchers worth more than $110,000 of credit with Amtrak were sold
by eBay user “2iladam.” Approximately 140 of these eVouchers, worth
approximately $55,000, have been confirmed as fraudulent as of August
28, 2018. According to records obtained from eBay, “2iladam” is an eBay

account registered to [MT of Glendale, New York.

c. In or about and between April 2016 to July 2018, approximately 281
eVouchers worth more than $250,000 of credit with Amtrak were sold by
eBay user “iminyourhome.” Approximately 152 of these eVouchers,
worth approximately $136,000, have been confirmed as fraudulent as of

August 28, 2018. According to records obtained from eBay,
“iminyourhome” is an eBay account registered to a
Queens, New York.

d. In or about and between April 2016 to May 2016, approximately 42
eVouchers worth more than $30,000 of credit with Amtrak were sold by
eBay user “richjerk.” Approximately 17 of these eVouchers, worth
approximately $10,000, have been confirmed as fraudulent as of August
28, 2018. According to records obtained from eBay, “richjerk” is an eBay
account registered to ANDRE WILBURN of New York, New York.

7. Only a portion of the eVouchers sold by the eBay Accounts were
identified as fraudulent by Amtrak using the criteria described in paragraph 5 above.
Amtrak OIG agents believe that the remainder of the eVouchers sold by the eBay Accounts
were also fraudulent; however Amtrak has not issued refunds in those instances. Based on
the investigation to date, I believe that refunds have not been issued because the financial
institutions absorbed the loss directly, are still in the process of requesting a refund from

Amtrak, or because the true accountholders failed to notice and report the original

transactions as unauthorized. The remainder of the eVouchers is also believed to be
fraudulent because the eVouchers were typically sold by the eBay Accounts at heavily
discounted prices of 30 to 70 percent of their face value, which, based on my training and

experience, is a practice frequently used by individuals committing access device fraud.

ADDITIONAL INVESTIGATION ESTABLISHING OWNERSHIP OF THE EBAY
ACCOUNTS

8. On or about September 6, 2018, law enforcement agents interviewed
| at his residence in Brooklyn, New York. PE stated, in sum and

substance and in part, that he had been purchasing eVouchers since April 2016, using stolen
credit card information that he was able to purchase from the dark web and that he
subsequently sold those eVouchers on eBay under the username "iminyourhome" at a
discount. fF further stated that he had been residing in Brooklyn since in or about
May 2018, and that prior to that and during the period of the scheme, he had been residing in
Queens, New York. RE further stated that he and ANDRE WILBURN are partners
in a company named Soul Air LLC.

9. On or about February 15, 2018, an undercover agent posing as a buyer
(the “Buyer”) purchased an eVoucher worth $320 that was offered for sale by eBay user
“Jiphet715” for the price of $240. On or about February 17, 2018, Buyer emailed eBay user
“Jiphet715”, stating, in substance, that he was having problems making a reservation on
Amtrak’s website using the eVoucher he had purchased. Buyer and eBay user “liphet715”
exchanged a few more email messages and eBay user “liphet715” provided Buyer with a
replacement eVoucher. Buyer subsequently asked eBay user “liphet715” to call Buyer
back. Buyer received a call from phone number 6607 on or about February 18,

2018 from a man who identified himself as PR and apologized for having provided
Buyer with an incomplete eVoucher number and assured Buyer that the replacement

eVoucher would work.

10. On or about September 6, 2018, law enforcement agents interviewed
| at his residence in Brooklyn, New York. PE stated, in sum and
substance and in part, that his phone number is 6607, that he obtained information
about eVouchers to sell on eBay from ANDRE WILBURN, and that he received one-third of
the profits from eVoucher sales while WILBURN received two-thirds of the profits.

11. During the course of the investigation, a victim was identified whose
credit card account was fraudulently used to purchase (i) an Amtrak reservation that was
subsequently exchanged for eVouchers that were sold on eBay, and (ii) a $2,800 gift card
from BladeOne, a company that offers chartered flights aboard helicopters, jets, and
seaplanes. The BladeOne gift card was subsequently used on January 10, 2018 to purchase
a flight reservation in the name of ANDRE WILBURN for travel to Miami on January 11,
2018. On January 11, 2018, an employee of BladeOne met WILBURN when WILBURN
arrived to BladeOne’s heliport in Manhattan and travelled to Miami. On February 15, 2018,
I presented the BladeOne employee with a photograph of WILBURN and the employee
identified WILBURN as the same man he met on January 11, 2018. -

12. During the course of the investigation, a Special Agent of Amtrak OIG
obtained a warrant to search the Google account of ANDRE WILBURN and determined that
Po and ANDRE WILBURN exchanged emails on November 23, 2016,
December 12, 2016 and January 19, 2017 with one another containing an Excel spreadsheet

that listed approximately two dozen eVouchers and indicated how much each eVoucher was
worth and how the sale proceeds for each eVoucher would be shared between and

WILBURN.

MOVEMENT OF FRAUDULENT PROCEEDS

13.

During the course of our investigation, law enforcement agents

observed the following financial transactions among fo
nc ANDRE WILBURN which reflect that iB ana ave

transferred the proceeds of their fraudulently obtained eVoucher sales on eBay to |

and WILBURN.

a.

b.

From on or about and between November 2016 to December 2016, a
Square Cash (““SQC”) account in the name of “lifeofdre” received deposits
from a SQC account in the name of “cyborg3.” SQC is an online payment
system. In order to use SQC, a user must provide a valid bank account or
credit card account to which the SQC account can be linked. The
“lifeofdre” SQC account is owned by ANDRE WILBURN. The
“cyborg3” SQC account is owned by iii and funded by a
bank account that is linked to the PayPal account registered to the
“Qiladam” eBay account.?

From on or about and between October 2017 to March 2018, the
“lifeofdre” SQC account belonging to ANDRE WILBURN received

deposits from a SQC account in the name of “bigmont715,” which is
owned by and funded by the bank account that is

linked to the PayPal account registered to the “liphet715” eBay account.

c. a 2:3 ANDRE WILBURN are listed as co-owners of a

joint business account at TD Bank in the name of SoulAir LLC (the
“SoulAir Bank Account”). From on or about and between September
2017 to March 2018, the SoulAir Bank account received deposits from
WILBURN’ “lifeofdre” SQC account.

From on or about and between January 2017 and June 2017, a Simple bank
account owned by ANDRE WILBURN received numerous instant money
transfers from a Simple account subscribed to

 

3 Each of the eBay Accounts has received payments from buyers of eVouchers via
PayPal, which is an online payment system. In order to use PayPal, a user must provide a
valid bank account or credit card account to which the PayPal account can be linked.
REQUEST FOR SEALING

14. ‘It is respectfully requested that fh Court issue an order sealing, until
further order of the Court, all papers submitted in support of this application, including the
application itself. I believe that sealing these documents is necessary to preserve the
integrity of this ongoing criminal investigation. Based upon my training and experience, I
have learned that online criminals actively search for criminal affidavits and arrest warrants _
via the internet, and disseminate them to other ectoninals as they deem appropriate.
Premature disclosure of this affidavit and related documents may have a significant and
negative impact on the continuing investigation and may severely jeopardize its

effectiveness.

WHEREFORE, your deponent respectfully requests that the defendants

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with according to law.

 

 

JIMMY,

SpecialAgent, United States Department of
Homeland Security, Homeland Security
Investigations

   

THE HONORABLE STEVE!
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
